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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

                                        )
AMERICAN OVERSIGHT,                     )
                                        )
                             Plaintiff, )
                                        )
                                        )
                                        )
v.                                      )   Case No. 25-cv-383
                                        )
                                        )
U.S. DEPARTMENT OF JUSTICE,             )
                                        )
                            Defendant. )
                                        )
                                        )

           MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION
                 FOR A PRELIMINARY INJUNCTION
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                                       INTRODUCTION

       American Oversight seeks a preliminary injunction ordering the U.S. Department of Justice

to release the non-exempt portions of former Special Counsel Jack Smith’s investigative report

into allegations of President Trump’s mishandling of classified documents. The requested report,

which has already been redacted by Smith, is urgently needed to inform the public of the activities

of Kash Patel, whose nomination as FBI Director is currently before the U.S. Senate.

       On January 7, 2025, then Special Counsel Jack Smith delivered to Defendant U.S.

Department of Justice (“DOJ”) the two-volume report on his investigations into President Trump’s

potential interference with the lawful transfer of power following the 2020 election and allegations

of mishandling a trove of classified documents after Trump left office in 2021. The following day,

American Oversight sent DOJ a request for expedited production of both volumes of the Special

Counsel’s report. In mid-January, DOJ publicly released Volume One of the report, concerning

President Trump’s alleged election interference; however, DOJ has failed to respond to American

Oversight’s expedited processing request, continues to withhold Volume Two of the report, and

has failed to provide a determination as to which records it will produce or withhold.

       Immediate disclosure of the non-exempt portions of the report is urgent for American

Oversight and the public because the report is expected to shed light on the actions of Kash Patel,

President Trump’s nominee to head the nation’s principal law enforcement agency. American

Oversight requested expedited processing, but DOJ has not responded by granting or denying that

request. Meanwhile, the Senate Judiciary Committee is currently scheduled to vote on Patel’s

nomination on Thursday, February 13, and, depending on the outcome of that vote, a full Senate

floor vote could follow soon thereafter.

       By failing to respond to American Oversight’s FOIA request or request for expedited

processing, Defendant DOJ has abrogated the clear statutory directive requiring it to issue prompt


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determinations regarding American Oversight’s request for expedited processing as well as its

request for records. DOJ’s failure to meet its statutory obligations under FOIA deprives American

Oversight of information it needs to educate the public about Patel’s truthfulness, trustworthiness,

and regard for the protection of classified information ahead of the Senate Judiciary Committee’s

vote to confirm him as Director of the FBI. American Oversight seeks immediate injunctive relief

to protect its vital interests and those of the public it serves.

                                              Background

        On January 7, 2025, then Special Counsel Jack Smith delivered to DOJ the two-volume

report on his investigations into President Trump’s potential interference with the lawful transfer

of power following the 2020 election (Volume One) and allegations of mishandling of a trove of

classified documents after Trump left office in 2021 (Volume Two). See Compl. ¶ 8. Smith

provided DOJ with a redacted version of Volume Two that identified information which, at that

time, might have been restricted from public disclosure by Federal Rule of Criminal Procedure

6(e). Id. ¶ 9.

        The next day, American Oversight submitted a FOIA request to DOJ bearing internal

tracking number DOJ-25-0036, seeking expedited production of both volumes of the Special

Counsel’s report. Id. ¶ 10, Ex. 1; see Decl. of Elizabeth Haddix ¶ 5 (Feb. 9, 2025).

        On January 14, 2025, DOJ acknowledged its receipt of American Oversight’s request and

assigned it DOJ tracking number FOIA-2025-01746; however, to date, DOJ has not responded to

American Oversight’s request to expedite processing, nor provided American Oversight any

responsive records nor determination concerning the request for records. Compl. ¶¶ 13-15, Ex. 2;

Haddix Decl. ¶¶ 6-9.

        On the same day, DOJ publicly released Volume One of the Special Counsel’s report.

Compl. ¶ 16. But DOJ withheld Volume Two from public release pending resolution of the


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criminal charges against Walt Nauta, an aide to President Trump, and Carlos De Oliveira,

property manager of President Trump’s Mar-a-Lago estate, concerning their role in Trump’s

alleged mishandling of classified documents. Id. ¶ 17.

        The next day, January 15, 2025, House Judiciary Committee members wrote to then-

Attorney General Merrick Garland that Volume Two “presumably not only outlines the evidence

supporting the 40 felony counts against Mr. Trump related to willfully hiding and mishandling

extremely sensitive national defense information, but also explains why President-elect Trump

retained and concealed classified documents and what he intended to do with those materials,

neither of which was included in the indictment. It is essential that the American people and

Congress understand how Mr. Trump mishandled our nation’s most sensitive classified

information, especially because he will be sworn in as Commander-in-Chief and take leadership

of our national security apparatus in just five days.” Id. ¶ 24 (citing Letter from House Judiciary

Committee to Merrick Garland, Att’y Gen., Dep’t of Justice (Jan. 15, 2025), https://democrats-

judiciary.house.gov/uploadedfiles/2025-01-15_hjc_dems_to_garland_doj.pdf (emphasis in the

original)).

        On January 29, DOJ moved to dismiss the criminal charges against Nauta and Oliveira

and dismissed its appeal of the classified documents case, thereby eliminating justification for

the continued withholding, in full, of Volume Two. Id. ¶¶ 18-19. On the same day, Senate

Judiciary Committee Ranking Member Senator Dick Durbin, along with other Committee

members, sent a letter to Acting Attorney General James R. McHenry III asking him to release

Volume Two because of the Committee’s need for “urgent access to materials that . . . bear

directly on Mr. Patel’s suitability to lead the nation’s premier law enforcement agency,” noting

that the “Committee cannot adequately fulfill its constitutional duty without reviewing details in




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the report of Mr. Patel’s testimony under oath, which is necessary to evaluate Mr. Patel’s

truthfulness, trustworthiness, and regard for the protection of classified information.” Compl. ¶

24, Ex. 3.

        On January 30, in his confirmation hearing before the Senate Judiciary Committee, Mr.

Patel refused to disclose information pertaining to the classified documents case, including his

grand jury testimony, prompting the Committee to delay their vote until Thursday, February 13,

2025.1 Compl. ¶ 27.

        DOJ’s continued refusal to provide American Oversight with a copy of Volume Two and

indexes justifying any withholding under claim of exemption prevents American Oversight from

fulfilling its mission of providing the public with critical information concerning Mr. Patel’s

fitness to lead the nation’s principal law enforcement agency.

                                               ARGUMENT

        American Oversight is entitled to preliminary injunctive relief in this case, which involves

an expedited request for a discrete document that has already been processed and redacted, and

has the potential to inform American Oversight and the American public about potentially

significant misconduct by the current nominee to lead the FBI. Those records, consisting of

Volume Two of the Special Counsel’s report on President Trump’s alleged mishandling of

classified documents, can and should be immediately produced ahead of any Senate vote to

confirm Mr. Patel’s nomination. Given American Oversight’s entitlement to the non-exempt

portions of the requested records, its likelihood of success on the merits of its claims that DOJ has

violated FOIA, the urgent need to inform the public about the information and evidence in Volume



1 Ivan Pereira, Allison Pecorin, & Isabella Murray, Committee Vote on Kash Patel's Nomination to be FBI Director

Delayed After Democrats Object, ABC NEWS (Feb. 6, 2025) https://abcnews.go.com/Politics/committee-vote-kash-
patels-nomination-fbi-director-delayed/story?id=118527085.


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Two, the irreparable harm to American Oversight resulting from DOJ’s continued FOIA violation,

and the likely benefit to the public and other FOIA requesters that will result from the relief

American Oversight seeks, this Court should prevent irreparable harm to American Oversight and

the public and order DOJ to comply with its statutory obligations in this matter of urgent national

concern by immediately releasing the non-exempt portions of Volume Two.

   I.       THIS COURT HAS JURISDICTION TO GRANT THE REQUESTED RELIEF.

         The FOIA statute provides jurisdiction for this Court to consider this matter and grant all

necessary injunctive relief:

                On complaint, the district court of the United States . . . in the
                District of Columbia, has jurisdiction to enjoin the agency from
                withholding agency records and to order the production of any
                agency records improperly withheld from the complainant. In such
                a case the court shall determine the matter de novo . . . .

5 U.S.C. § 552(a)(4)(B). When an agency fails to comply with the applicable time-limit provisions

in the FOIA statute, a requester “shall be deemed to have exhausted his administrative remedies

with respect to such request.” Id. § 552(a)(6)(C)(i); see also Oglesby v. Dep’t of the Army, 920

F.2d 57, 62 (D.C. Cir. 1990) (holding that a requester may bring suit if an agency fails to comply

with statutory time limits). This includes a failure to respond to a FOIA request within the

statutorily imposed timeframe. See Wash. Post v. Dep’t of Homeland Sec., 459 F. Supp. 2d 61, 74

(D.D.C. 2006) (“[F]ailure to process FOIA requests in a timely fashion is ‘tantamount to denial.’”)

(quoting H.R. REP. NO. 93-876, at 6 (1974)). American Oversight has therefore exhausted all

applicable administrative remedies, and its claims are ripe for adjudication.

   II.      AMERICAN OVERSIGHT                  IS    ENTITLED        TO     A     PRELIMINARY
            INJUNCTION.

         In considering a plaintiff’s request for injunctive relief, a court must weigh four factors:

(1) whether the plaintiff has a substantial likelihood of success on the merits; (2) whether the



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plaintiff would suffer irreparable injury absent injunctive relief; (3) whether an injunction would

substantially injure other interested parties; and (4) whether the grant of an injunction would

further the public interest. Al-Fayed v. CIA, 254 F.3d 300, 303 (D.C. Cir. 2001); Serono Labs.,

Inc. v. Shalala, 158 F.3d 1313, 1317–18 (D.C. Cir. 1998); Am. Oversight v. U.S. Dep’t of State,

414 F. Supp. 3d 182, 185 (D.D.C. 2019). Here, all four factors demonstrate American Oversight’s

entitlement to preliminary injunctive relief.

               A. American Oversight Is Likely to Succeed on the Merits

       FOIA required DOJ to provide American Oversight a prompt determination on its FOIA

request and the timely processing and production of non-exempt responsive records within twenty

working days—a deadline that passed on February 6, 2025. FOIA clearly and unambiguously

provides that federal agencies must make records “promptly available to any person” who

reasonably describes the records they seek in accordance with established procedures. 5 U.S.C.

§ 552(a)(3)(A). See also id. § 552(a)(6)(A)(i) (requiring a determination be communicated to a

FOIA requester as to the scope of the records that will be produced and/or withheld, and the reasons

for any withholdings, within 20 working days); Citizens for Resp. & Ethics in Wash. (“CREW”)

v. Fed. Election Comm’n, 711 F.3d 180, 188 (D.C. Cir. 2013) (“Section 552(a)(6)(A)(i) must be

more than just an initial statement that the agency will generally comply with a FOIA request and

will produce non-exempt documents and claim exemptions in the future. Rather, in order to make

a ‘determination’ and thereby trigger the administrative exhaustion requirement, the agency must

at least: (i) gather and review the documents; (ii) determine and communicate the scope of the

documents it intends to produce and withhold, and the reasons for withholding any documents;

and (iii) inform the requester that it can appeal whatever portion of the ‘determination’ is

adverse.”). American Oversight is also entitled to expedited processing of its request.

§ 552(a)(6)(E).


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        DOJ has failed to meet these clear statutory obligations here. First, DOJ has failed to

respond to the FOIA request within the statutory deadline. The record at issue—a report created

by a Special Counsel operating under DOJ’s aegis and delivered to DOJ pursuant to DOJ

regulation, 28 C.F.R. § 600.8(c)—is an “agency record” under FOIA. See U.S. Dep’t of Just. v.

Tax Analysts, 492 U.S. 136, 146 (1989) (defining “agency records” as materials “create[d] or

obtain[ed]” by the agency and within the agency’s control at the time the request is made). In

addition, the request reasonably describes the records sought and complied with all necessary

procedures; in fact, it sought a discrete document that DOJ had redacted as of at least January 7,

2025. See Compl. ¶¶ 8 -11, Ex. 1.

        Despite the urgent public need for the information contained in the single document

American Oversight has requested, DOJ has failed to comply with its obligations to timely make

a determination as to the scope of the records it intends to produce or withhold and the reasons for

any withholdings. See 5 U.S.C. § 552(a)(6)(A)(i); CREW, 711 F.3d at 182–83 (“[T]he agency must

at least indicate within the relevant time period the scope of the documents it will produce and the

exemptions it will claim with respect to any withheld documents.”). American Oversight will

therefore certainly succeed in establishing its entitlement to the non-exempt portions of Volume

Two.

        Second, American Oversight is entitled to expedited processing of its request, as there is a

compelling need to inform the public concerning the information and evidence contained in

Volume Two ahead of the Senate’s imminent votes to confirm Mr. Patel as head of the FBI. See 5

U.S.C. § 552(a)(6)(E)(v)(II); Compl. ¶¶ 12, 20-22. DOJ’s statutory deadline for notifying

American Oversight of its determination regarding the request for expedited processing expired

on January 22, 2025. See 5 U.S.C. § 552(a)(6)(E)(i)(I). American Oversight’s mission is to




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promote accountability in government through transparency, and it is primarily engaged in

disseminating information to the public. Compl. ¶ 5, Ex. 1 at n.14 (citing Transcript of Oral

Argument, Am. Oversight v. U.S. Dep’t of Just., No. 24-cv-02789-PLF (D.D.C. Oct. 21, 2024)

(finding that American Oversight is an organization primarily engaged in disseminating

information)); Haddix Decl. ¶¶ 10-11. Accordingly, upon receipt of Volume Two, American

Oversight will promptly publicize it for consideration by the general public and the U.S. Senate.

Compl. ¶ 29; Haddix Decl. ¶ 11.

       Courts have found that expedited processing is warranted in cases where the records were

needed far less urgently, and concerned matters far less momentous, than a president’s alleged

mishandling of classified documents and his nominee’s related actions and conduct before a

congressional vote to confirm that nominee as head of the FBI. See, e.g., Elec. Priv. Info. Ctr. v.

Dep’t of Just. (“EPIC”), 416 F. Supp. 2d 30, 41 (D.D.C. 2006) (finding expedited processing

warranted where requested records related to “current and ongoing debate surrounding the legality

of the Administration’s warrantless surveillance program”); Leadership Conf. on Civil Rights v.

Gonzalez, 404 F. Supp. 2d 246, 260 (D.D.C. 2005) (finding expedited processing warranted where

records requested concerned legislation that was set to expire over a year from the time of the

court’s decision).

       Thus, American Oversight will ultimately prevail in demonstrating its entitlement to

expedited processing of its FOIA request, prompt determinations on its request, and prompt

disclosure of non-exempt responsive records. Besides DOJ’s clear statutory obligations, there is

significant public and congressional interest in Volume Two, pertaining both to President Trump’s

alleged mishandling of the classified documents and Mr. Patel’s related conduct and actions

demonstrating his truthfulness, trustworthiness and regard for protecting classified information. In




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addition, congressional interest in Volume Two is extraordinary, as demonstrated by the Senate

Judiciary Committee’s delay of its vote to confirm Mr. Patel to lead the nation’s principal law

enforcement agency. Given American Oversight’s (and the public’s) urgent need for the requested

information, expedited processing is necessary.

               B. American Oversight Will Be Irreparably Harmed Absent the Requested
                  Relief.

       American Oversight will be harmed irreparably if DOJ does not grant expedited

processing, promptly process American Oversight’s FOIA request, and promptly produce non-

exempt responsive records. Only preliminary injunctive relief can address this urgent need and the

specter of irretrievably losing American Oversight’s rights under FOIA. As the D.C. Circuit has

noted, “stale information is of little value.” Payne Enters., Inc. v. United States, 837 F.2d 486, 494

(D.C. Cir. 1988). The Senate’s advice and consent regarding the nominee to lead the nation’s most

powerful law enforcement agency—the very agency that initiated the investigation described in

Volume Two—hangs in the balance. Further unlawful delay in processing the request will

irreparably harm American Oversight’s ability to receive the determinations and prompt

production of materials in time to carry out its core mission of informing the public of matters of

great importance related to President Trump and, urgently, the person he has chosen to lead the

FBI. Only accelerated review by this Court can ensure that DOJ’s failure to comply with its

statutory obligations does not irrevocably harm American Oversight. See Wash. Post, 459 F. Supp.

at 66 (“[t]o afford the plaintiff less than expedited judicial review would all but guarantee that the

plaintiff would not receive expedited agency review of its FOIA request.”).

       American Oversight’s purpose is to use FOIA to help it, and the public, monitor the

activities of government officials and agencies. Compl. ¶ 29; Haddix Decl. ¶ 10. Prompt

determinations and timely production of non-exempt records equip American Oversight to



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enhance the public debate on the merits of the classified documents allegations and investigation

of the same. Compl. ¶ 21; Haddix Decl. ¶ 11; see generally Nat’l Labor Relations Bd. v. Robbins

Tire & Rubber Co., 437 U.S. 214, 242 (1978) (“[t]he basic purpose of FOIA is to ensure an

informed citizenry, vital to the functioning of a democratic society, needed to check against

corruption and to hold the governors accountable to the governed.”).

       Here, DOJ’s refusal to produce the requested record is particularly damaging to American

Oversight’s mission, and to public debate, in the lead-up to a pivotal confirmation vote. As time

passes, the value of the requested information will greatly diminish—particularly if Mr. Patel is

confirmed. In light of the Senate’s impending vote on Mr. Patel’s confirmation, as well as House

and Senate members’ repeated demands that the DOJ release Volume Two, there is an urgent need

to inform the public—now—about the information and evidence contained in the records

American Oversight seeks.

       This case presents even greater urgency than the Court found in Washington Post v.

Department of Homeland Security, where the plaintiff sought visitor logs for the Vice President’s

office and residence which the plaintiff asserted would “assist the public in the degree to which

lobbyists and special interest representatives may have influenced policy decisions of the Bush

administration.” 459 F. Supp. 2d at 65 (internal quotation marks omitted). The plaintiff explained

that “[w]ith the midterm elections looming, any delay in processing this request would deprive the

public of its ability to make its views known in a timely fashion.” Id. This Court concluded that

“[b]ecause the urgency with which the plaintiff makes its FOIA request is predicated on a matter

of current national debate, due to the impending election, a likelihood for irreparable harm exists

if the plaintiff’s FOIA request does not receive expedited treatment.” Id. at 75; see also Transcript

of Oral Argument at 36-47, Am. Oversight v. U.S. Dep’t of Just., No. 24-cv-02789-PLF (D.D.C.




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Oct. 21, 2024), ECF No. 21 (granting a preliminary injunction, ordering expedited processing of

the FOIA request, and requiring defendants to produce non-exempt portions of a single record

after finding the public had an urgent need to know about an alleged incident at Arlington National

Cemetery involving a presidential candidate within two weeks of a presidential election).

       Here, too, American Oversight’s request seeks records that are the subject of major current

national debate. A committee vote on Mr. Patel’s confirmation is less than a week away, with a

potential Senate floor vote soon thereafter. American Oversight and the general public are entitled

to receive an agency record that may pertain to Mr. Patel’s truthfulness and track record on

enforcing the law before a final Senate confirmation vote.

       Because of the Senate’s fast-moving timeline, the harm from further DOJ delay would be

irreparable. Here, the intense public and congressional interest presents the type of “potential for

irreparable harm” that courts find in FOIA cases where the requested documents concern

“‘ongoing public and congressional debates about issues of vital national importance [that] cannot

be restarted or wound back.’” Protect Democracy Project, Inc. v. U.S. Dep't of Def., 263 F. Supp.

3d 293, 301 (D.D.C. 2017) (Cooper, J.) (quoting Elec. Frontier Found. v. Office of Dir. of Nat’l

Intel., 2007 WL 4208311, at *7 (N.D. Cal. Nov. 27, 2007)); see also Dunlap v. Presidential

Advisory Comm’n on Election Integrity, 286 F. Supp. 3d 96, 110 (D.D.C. 2017) (“District courts

in this circuit have recognized that, where an obligation to disclose exists, plaintiffs may suffer

irreparable harm if they are denied access to information that is highly relevant to an ongoing

public debate.”). Thus, “failure to process FOIA requests in a timely fashion is ‘tantamount to

denial.’” Wash. Post, 459 F. Supp. 2d at 74 (quoting H.R. REP. NO. 93-876, at 6 (1974)).

       That is why courts in this jurisdiction have repeatedly issued preliminary injunctions in

FOIA cases where the requester seeks information urgently needed to inform a pending or




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developing situation. See, e.g., id. at 74–75 (finding irreparable harm where requested records

could inform public opinion in advance of upcoming election); Am. Oversight, 414 F. Supp. 3d at

187 (“The likely irreparable harm to American Oversight also stems from the fact that, if non-

exempt responsive records exist, the public may not otherwise have access to them.”); EPIC, 416

F. Supp. 2d at 40–41 (finding irreparable harm where requested records related to “current and

ongoing debate surrounding the legality of the Administration’s warrantless surveillance

program”); Leadership Conf. on Civil Rights, 404 F. Supp. 2d at 260 (finding urgency requirement

for expedition satisfied based on “upcoming expiration of the special provisions of the Voting

Rights Act” more than one year later).

       Here, American Oversight’s ability to inform the public about the federal government’s

actions in matters addressed in Volume Two will be irreparably harmed if DOJ is not required to

make timely determinations, promptly process American Oversight’s FOIA request on an

expedited basis and produce all non-exempt, responsive documents on an accelerated schedule.

               C. The Requested Relief Will Not Burden Others’ Interests.

       No other interests would be harmed by granting American Oversight its requested relief.

Defendant cannot claim to be harmed by an order compelling it to comply with its statutory

obligations. Nor would granting American Oversight’s relief unduly burden other FOIA

requesters—especially since Volume Two has already been processed and redacted and can be

immediately produced. Congress added the expedited processing provision to FOIA precisely to

ensure that agencies make the statutorily required determination and promptly process the

requested records upon a showing that the requested information is urgently needed to inform the

public about an actual or alleged federal government activity. 5 U.S.C § 552(a)(6)(E)(v)(II); see

EPIC, 416 F. Supp. 2d at 40 (explaining 1996 amendment adding expedited processing

requirements to FOIA). The extraordinary importance of the record at issue, and the public’s time-


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sensitive need for the information, confirm that American Oversight’s request is of the type

Congress envisioned being processed ahead of other FOIA requests, and ordering DOJ to process

it as such will not harm the interests of DOJ or anyone else.

       Moreover, American Oversight submitted this request to DOJ over a month ago and the

statutory deadline for providing determinations and responses has already passed. To the extent

Defendant argues that resources will have to be pulled away from processing the requests of other

requestors, that is due to Defendant’s failure to allocate sufficient resources and make necessary

systematic changes to process FOIA requests in compliance with its statutory obligations.

Additionally, other FOIA requestors are seeking the records that American Oversight first

requested. See Compl. ¶ 22. Ordering Defendants to rapidly search for, process, and produce

records responsive to American Oversight’s request will actually aid other FOIA requesters who

have sought Volume Two.

               D. The Public Interest Favors the Requested Relief.

       A preliminary injunction is indispensable to protect the public’s right to government

transparency and essential interest in being informed about whether and to what extent President

Trump and other federal officials, including Kash Patel, violated their legal obligations with

respect to classified information. Additionally, Volume Two may contain further information that

could shed light on Mr. Patel’s fitness to serve as FBI Director, including his truthfulness in

testifying to Congress. That is why multiple U.S. Senators have requested that DOJ disclose

Volume Two. Compl. ¶¶ 23-25. Consequently, the requested relief serves the public interest

because disclosure will aid both Congress and the public to better participate in the ongoing public

debate about the alleged mishandling of classified documents and make informed decisions while

they still have the opportunity to do so.

       Even in less urgent circumstances, “there is an overriding public interest . . . in the general


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importance of an agency’s faithful adherence to its statutory mandate.” Jacksonville Port Auth. v.

Adams, 556 F.2d 52, 59 (D.C. Cir. 1977); accord Wash. Post, 459 F. Supp. 2d at 76. FOIA is

rooted in the self-evident premise that transparency and disclosure are a public benefit in a

participatory democracy. U.S. Dep’t of Just. v. Reporters Comm. for Freedom of the Press, 489

U.S. 749, 772–73 (1989); see also Ctr. to Prevent Handgun Violence v. U.S. Dep’t of the Treasury,

49 F. Supp. 2d 3, 5 (D.D.C. 1999) (noting that “[t]here is public benefit in the release of

information that adds to citizens’ knowledge” of government activities).

       Here, where a prosecutor’s investigative report may contain information crucial to inform

the public about potential misconduct by the nominee for FBI Director, the public interest in

informed debate is at its peak. See Robbins Tire, 437 U.S. at 242 (“The basic purpose of [the]

FOIA is to ensure an informed citizenry, vital to the functioning of a democratic society, needed

to check against corruption and to hold the governors accountable to the governed.”). A

preliminary injunction ensuring timely processing and disclosure of Volume Two is crucial to

serving the public’s interest.

                                        CONCLUSION

       For the foregoing reasons, Plaintiff American Oversight respectfully requests that this

Court grant a preliminary injunction requiring Defendant to make timely determinations on

American Oversight’s FOIA request, promptly process the request on an expedited basis, and

produce all non-exempt responsive records and an index justifying the withholding of any withheld

records by 10:00am Eastern time on February 21, 2025, or such other date as the Court deems

appropriate.

Dated: February 10, 2025                            Respectfully submitted,

                                                    /s/ Elizabeth Haddix
                                                    Elizabeth Haddix



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